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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

SHELIA STANLEY &                                   )
GLENNIE STANLEY,                                   )
                                                   )
       Plaintiffs,                                 )
                                                   )              CIVIL ACTION NO.
v.                                                 )               2:09-cv-804-MEF
                                                   )
REDLINE RECOVERY                                   )
SERVICES, LLC,                                     )
                                                   )
       Defendant.                                  )

                            JOINT STIPULATION OF DISMISSAL

       Comes now the Plaintiffs and the Defendant, by and through their respective,
undersigned counsel of record, and gives notice to the court that they each stipulate that all
claims in this matter may be dismissed with prejudice pursuant to F.R.C.P. 41. Each party to
bear its own costs.
       Pursuant to Rule II.C.3 of this Court’s Administrative Procedures, Attorney Gerald A.
Templeton certifies that he has the express permission and agreement of counsel for Defendant
to affix his respective electronic signature hereon and further certifies that the Parties have
agreed to the terms and conditions of this document.


       Filed and submitted on the 8th day of October, 2010.

                                                       /s Gerald A. Templeton
OF COUNSEL                                             Gerald A. Templeton, Esq.
BROCK & STOUT, LLC.                                    Attorney for Plaintiffs
2 Metroplex Drive
Suite 107
Birmingham, Alabama 35209
                                                       /s John W. Scott
OF COUNSEL                                             John W. Scott, Esq.
SCOTT, DUKES & GEISLER, P.C.                           Attorney for Defendant
2100 Third Ave. N, Ste. 700
Birmingham, Alabama 35203
